     Case 8:04-cr-00235-DKC Document 1210 Filed 05/22/08 Page 1 of 4

                                                       Filed: May 22, 2008

                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT
                    1100 East Main Street, Suite 501
                     Richmond, Virginia 23219-3517
                          www.ca4.uscourts.gov

                   _______________________________

                   TRANSCRIPT ORDER ACKNOWLEDGMENT
                   _______________________________

No. 07-4115, US v. LaVon Dobie
             8:04-cr-00235-RWT

This Acknowledgment establishes a deadline for filing all
transcript ordered from this court reporter, as follows:

Court Reporter: Tracy Dunlap
Current Deadline: 06/30/2008
Proceedings: 6/13/06 opening statement of government; 6/13/06
opening statement of Dobie; 8/9/06 closing argument of government;
8/9/06 closing argument of Dobie

If transcript has not been properly ordered or if appropriate
financial arrangements have not been made, the court reporter must
complete and file a Transcript Order Deficiency Notice with this
Court within 7 calendar days. If the court reporter has grounds for
an extension of time, a request for extension may be sought using
the Transcript Extension Request form.

This Court is notified of the filing of the Appeal Transcript in
the District Court through the District Court=s CM/ECF system. If
the transcript is not filed by the due date, a transcript sanction
takes effect, as provided in the Guidelines for Preparation of
Appellate Transcripts in the Fourth Circuit. If a transcript
sanction is in effect, the court reporter must file a Transcript
Sanction Certification Form with this Court at the time the
transcript is filed with the District Court, certifying that the
appropriate sanction has been deducted from the transcript fee.

Court forms are available for completion as links from this notice
and at the Court's web site, www.ca4.uscourts.gov.

Sharon A. Wiley
Deputy Clerk
804-916-2704
        Case 8:04-cr-00235-DKC Document 1210 Filed 05/22/08 Page 2 of 4

                      UNITED STATES COURT OF APPEALS
                          FOR THE FOURTH CIRCUIT

                       TRANSCRIPT DEFICIENCY NOTICE

                No. 07-4115, US v. LaVon Dobie
                             8:04-cr-00235-RWT

If there are problems with the Transcript Order or if the Court
has not yet approved preparation of transcript at government
expense, the Court Reporter should, within 7 days of receipt of
the Transcript Order Acknowledgment from the Court of Appeals,
file the Deficiency Notice form with the Court of Appeals and
serve a copy on the party ordering the transcript and the District
Court Reporter Coordinator.

Court Reporter: Tracy Dunlap
Current Deadline: 06/30/2008
Extension Requested to:

[ ] Transcript Order is sufficient, but Criminal Justice Act funds
have not been approved (CJA 24)

[ ]     Transcript Order is sufficient, but motion for transcript
        at government expense has not been granted (28 U.S.C. § 253
        (f))

[ ]     Satisfactory financial arrangements have not been made.
        Please specify problem:

[ ]     Transcript order is unclear. Please specify problem:

[ ]     Transcript order has not been received (CJA 24)

[ ]     Transcript order was received after receipt of
        Acknowledgment. Please specify length of delay:

[ ]     Other (please specify):

Signature:

Date:
     Case 8:04-cr-00235-DKC Document 1210 Filed 05/22/08 Page 3 of 4

                   UNITED STATES COURT OF APPEALS
                       FOR THE FOURTH CIRCUIT

                    TRANSCRIPT EXTENSION REQUEST

             No. 07-4115, US v. LaVon Dobie
                          8:04-cr-00235-RWT

If an extension of time is needed to complete the transcript, the
court reporter may file a Transcript Extension Request with the
Court of Appeals at least 10 days in advance of the deadline,
setting forth specific information in support of the request.
Copies of the Request shall be served on the parties to the case
and the District Court Reporter Coordinator. The granting of an
extension also constitutes a waiver of sanctions through the date
of the extension. Please be advised that any information provided
on this form will be posted on the public docket.

Court Reporter: Tracy Dunlap
Current Deadline: 06/30/2008
Extension Requested to:

  1. Previous Extension Requested? [ ] Yes [ ] No If yes, how
     many?:



  2. Number of Transcript Pages Completed to Date:
     Number of Pages Remaining to be Transcribed:



  3. Outstanding District Court transcripts ordered within past 90
     days:
     Outstanding Court of Appeals transcripts ordered within past
     90 days:



  4. In-Court Time (total days/hours by month):



  5. Vacation (dates):



  6. Incapacitation/Illness (dates):
        Case 8:04-cr-00235-DKC Document 1210 Filed 05/22/08 Page 4 of 4



  7. Emergencies/Other (be specific):



Signature:

Date:
